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     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
     Ben_D_Galloway@fd.org
5
6    Attorney for Defendant
     THOMAS DANIEL MANCIAS
7
8                                IN THE UNITED STATES DISTRICT COURT
9
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    Case № 2:15-cr-202 GEB
12                        Plaintiff,              STIPULATION AND [PROPOSED] ORDER
                                                  TO CONTINUE STATUS CONFERENCE
13            v.
14   THOMAS DANIEL MANCIAS,                        DATE:          December 18, 2015
                                                   TIME           9:00 a.m.
15                        Defendant.               JUDGE:         Hon. Garland E. Burrell, Jr.
16
17            IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,

18   through Christiaan Highsmith Assistant United States Attorney, attorney for Plaintiff, and

19   Heather Williams, Federal Defender, through Assistant Federal Defender Benjamin D.

20   Galloway, attorney for Thomas Daniel Mancias, that the status conference scheduled for

21   December 18, 2015, be vacated and continued to January 15, 2016 at 9:00 a.m.

22            Defense counsel requires additional time to review discovery with the defendant and

23   pursue investigation, as well as continue negotiations toward a non-trial disposition.

24             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be

25   excluded from this order’s date through and including January 15, 2016, pursuant to 18 U.S.C.

26   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4

27   based upon continuity of counsel and defense preparation.

28   ///

      Stipulation to Continue                        -1-
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1    DATED: December 14, 2015           Respectfully submitted,
                                        HEATHER E. WILLIAMS
2
                                        Federal Defender
3
                                        /s/ Benjamin D. Galloway
4                                       Benjamin D. Galloway
                                        Assistant Federal Defender
5                                       Attorney for Thomas Daniel Mancias
6    DATED: December 14, 2015           BENJAMIN B. WAGNER
                                        United States Attorney
7
                                        /s/ Christiaan Highsmith
8
                                        CHRISTIAAN HIGHSMITH
9                                       Assistant U.S. Attorney
                                        Attorney for Plaintiff
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      Stipulation to Continue             -2-
       Case 2:15-cr-00202-KJM Document 30 Filed 12/15/15 Page 3 of 3



1                                                  ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    January 15, 2016, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the December 18, 2015 status conference shall be continued until January 15,
13   2016, at 9:00 a.m.
14   Dated: December 15, 2015
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      Stipulation to Continue                         -3-
